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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
MANICHAEAN CAPITAL, LLC, et al.,
                                    Plaintiffs,                            20 CIVIL 5679 (AKH)

                 -against-                                                    JUDGMENT
SOURCEHOV HOLDINGS, INC.,
                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Order dated January 27, 2021, the case is dismissed for lack of personal

jurisdiction, accordingly the case is closed.


Dated: New York, New York
       January 28, 2021




                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
